Case 3:19-cv-17272-RK-TJB   Document 283   Filed 09/24/24   Page 1 of 6 PageID: 4143
Case 3:19-cv-17272-RK-TJB   Document 283   Filed 09/24/24   Page 2 of 6 PageID: 4144
Case 3:19-cv-17272-RK-TJB   Document 283   Filed 09/24/24   Page 3 of 6 PageID: 4145
Case 3:19-cv-17272-RK-TJB   Document 283   Filed 09/24/24   Page 4 of 6 PageID: 4146
Case 3:19-cv-17272-RK-TJB   Document 283   Filed 09/24/24   Page 5 of 6 PageID: 4147
Case 3:19-cv-17272-RK-TJB   Document 283   Filed 09/24/24   Page 6 of 6 PageID: 4148




          EXHIBIT A
             Filed Under Seal
